Case 3:16-md-02738-MAS-RLS   Document 32993-1   Filed 07/22/24   Page 1 of 41
                             PageID: 190339




             IN THE UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF NEW JERSEY




IN RE: JOHNSON & JOHNSON TALCUM                 No. 3:16-md-02738-MAS-RLS
POWER PRODUCTS MARKETING, SALES
PRACTICES, AND PRODUCTS LIABILITY               MDL No. 162738 (MAS) (RLS)
LITIGATION




  DEFENDANTS JOHNSON & JOHNSON AND LLT MANAGEMENT
               LLCS MOTION TO COMPEL
          DEPOSITION TESTIMONY OF PAUL HESS
                  AND FOR SANCTIONS
Case 3:16-md-02738-MAS-RLS                       Document 32993-1                 Filed 07/22/24           Page 2 of 41
                                                 PageID: 190340



                                         TABLE OF CONTENTS
TABLE OF AUTHORITIES ..................................................................................... ii
INTRODUCTION .....................................................................................................1
BACKGROUND .......................................................................................................3
ARGUMENT .............................................................................................................5
I.       Mr. Hess Was Improperly Instructed Not To Answer Numerous
         Directly Relevant Questions At His Deposition. ...........................................10
         A.       Questions regarding Mr. Hesss testing of Sample M70484-001
                  from Dr. Longos 4th Supplemental MDL Report (Zimmerman) .......10
         B.       Questions regarding Mr. Hesss testing of Sample M71614-001
                  from Dr. Longos 4th Supplemental MDL Report (Valadez) ..............12
         C.       Questions regarding the Calidira reference sample that is a
                  critical component of MASs PLM methodology. ..............................16
         D.       Questions regarding the chrysotile reference sample in the ISO
                  22262-1 methodology MAS purports to follow. .................................19
         E.       Questions regarding illumination and color filtering. .........................21
         F.       Questions regarding Dr. Su and Dr. Wyles review of Mr. Hesss
                  work. ....................................................................................................24
         G.       Other questions regarding Mr. Hesss testing. ....................................25
II.      Counsel Should Be Permitted To Ask Questions Comparing Mr.
         Hesss Work To Other Testing, Particularly His Own. ..................................28
III.     This Court Should Award Sanctions. .............................................................31
         A.       The federal rules authorize monetary and preclusion sanctions. ........32
         A.       This Court should award monetary sanctions. ....................................33
         B.       This Court should preclude Plaintiffs from relying on any tests
                  where Mr. Hess was the analyst. .........................................................34
CONCLUSION ........................................................................................................35




                                                             i
Case 3:16-md-02738-MAS-RLS                  Document 32993-1             Filed 07/22/24        Page 3 of 41
                                            PageID: 190341



                                   TABLE OF AUTHORITIES



Cases                                                                                                Page(s)

Access 4 All, Inc. v. ANI Assocs., Inc.,
   2007 WL 178239 (D.N.J. Jan. 12, 2007) ......................................................34, 35

Antolini v. McCloskey,
   2022 WL 1689331 (S.D.N.Y. May 26, 2022) .................................................... 34

Bell v. Lee,
   2017 WL 1316938 (N.D. Cal. Apr. 10, 2017) ...................................................... 5

Bordelon Marine, Inc. v. F/V KENNY BOY,
  2011 WL 164636 (E.D. La. Jan. 19, 2011) ....................................................5, 34

Boyd v. Univ. of Maryland Med. Sys.,
  173 F.R.D. 143 (D. Md. 1997) ........................................................................... 31

Carbone v. Carbone,
  2023 WL 3452333 (D.N.J. May 15, 2023) ........................................................... 5

Hochstein v. Microsoft Corp.,
  2009 WL 2616253 (E.D. Mich. Aug. 21, 2009) ................................................... 5

Lucas v. Breg, Inc.,
   2016 WL 2996843 (S.D. Cal. May 13, 2016) ................................................5, 34

Quick v. Township of Bernards,
  2023 WL 4237059 (D.N.J. June 28, 2023) ........................................................... 5

Specht v. Google, Inc.,
   268 F.R.D. 596 (N.D. Ill. 2010)............................................................................ 5

Wellsco Int'l Co. Ltd. v. HD Supply Distribution Servs., LLC,
  2010 WL 11508337 (N.D. Ga. July 26, 2010) ................................................... 34

Williams v. Benshetrit,
   2020 WL 3315982 (E.D. Pa. June 18, 2020) .................................................. 5, 34




                                                       ii
Case 3:16-md-02738-MAS-RLS                      Document 32993-1              Filed 07/22/24          Page 4 of 41
                                                PageID: 190342



Other Authorities

Fed. R. Civ. P. 30(c)(2) ..............................................................................................5

Fed. R. Civ. P. 16(f)(1)(C) ....................................................................................... 32

Fed. R. Civ. P. 37(b)(2)(A)(ii) ................................................................................. 33

Fed. R. Civ. P. 30(d)(2)............................................................................................ 33




                                                          iii
Case 3:16-md-02738-MAS-RLS        Document 32993-1      Filed 07/22/24    Page 5 of 41
                                  PageID: 190343



      Defendants Johnson & Johnson and LLT Management LLC submit this

Motion to Compel Deposition Testimony of Paul Hess and for Sanctions.

                                 INTRODUCTION

      Plaintiffs have done everything possible to obstruct and prevent the deposition

of Paul Hess, Dr. Longos chief PLM microscopist and the only person with actual

eyes on the slides that serve as the foundation for Dr. Longos report in this matter.

      Their most recent gambit was to obstruct the court-ordered deposition with 40

instructions not to answer questions. Concerningly, Plaintiffs multi-month delay

tactics are threatening to come to fruition as Rule 702 motions are due tomorrow,

and Defendants still have not had an opportunity to meaningfully question the person

who actually conducted the critical analysis relied on by Plaintiffs in this MDL for

the case-defining issue of whether or not asbestos is present in Defendants talc

products.

      As this Court is well aware from prior briefing on the issue, the polarized light

microscopy (PLM) analysis at issue turns on accurately identifying the color of

the particle. Yet, when Mr. Hess was shown a particle from the very testing that he

conducted and that is indisputably at issue in this MDL, he was instructed not to

answer questions as simple as: What color is the particle that youre calling

chrysotile here? Ex. A, Hess Dep. 78:18-23.




                                          1
Case 3:16-md-02738-MAS-RLS        Document 32993-1      Filed 07/22/24   Page 6 of 41
                                  PageID: 190344



      This tactic was employed across numerous types and categories of questions.

For example, he was instructed not to answer: [T]he same type of edge effects that

youre relying on to call particles chrysotile in Johnson & Johnson are also present

on talc plates in your analysis; is that true? Id. at 143:11-25. When defense counsel

attempted to direct Mr. Hesss attention to a particular particle, he was even

instructed not to answer the simple, non-controversial question: Do you see that?

Id. at 125:21-25. The instructions not to answer were in violation of the Special

Masters ruling that Mr. Hess could be questioned about the testing he conducted

and associated images that comprise part of Dr. Longos report. Id. at 44:11-45:3.

      The only principle that seemed to govern what Mr. Hess was or was not

permitted to answer was whether the answer would hurt Plaintiffs case. The most

common ground for the instruction not to answer was that the response calls for

expert testimony. This is doubly nonsensical. Calls for expert testimony is not a

basis to instruct a witness not to answer. Also, Mr. Hess is unquestionably an expert.

The Special Master himself expressly stated that Mr. Hess is a non-testifying

expert, that Hess, not Longo, has decades of experience doing PLM testing, and

that Mr. Hess is the expert Longo will rely upon ECF 32817 at 2-3 (Order)

(emphasis added).

      This should come as no surprise, since Plaintiffs themselves said three

separate times in their motion to quash the Hess subpoena that the issue before the



                                          2
Case 3:16-md-02738-MAS-RLS        Document 32993-1     Filed 07/22/24   Page 7 of 41
                                  PageID: 190345



Special Master was the propriety of discovery from a non-testifying expert. ECF

32195 at 1; ECF 32195-1 at 8, 11. Yet at the deposition, Plaintiffs stated that Mr.

Hess is not an expert. Ex. A, Hess Dep. at 29:3. That is farcical. If Mr. Hess, and

not Dr. Longo, is the one with decades of experience doing PLM testing, yet Mr.

Hess (who is conducting the testing) is not the expert, then that not only leaves no

expert for Defendants to question but also begs the question: How do Plaintiffs

intend to advance their theory that Defendants talc products are contaminated?

      Mr. Hess was instructed not to answer questions about his own testing that is

part of Dr. Longos report at issue in this MDL. The instructions not to answer those

questions are plainly improper. This Court should order another deposition of Mr.

Hess within one week without the unfounded restrictions that were placed by

counsel, and further issue sanctions to ensure such behavior does not continue.

                                 BACKGROUND

      This Court is already familiar with the issues presented in this motion from

the briefing on the motion to quash the deposition of Mr. Hess (ECF Nos. 32195,

32583, 32717, 32812) and the motion for an inspection of Dr. Longos lab (ECF Nos.

32227, 32684, 32807, 32808, 32872), which Defendants incorporate herein by

reference, including the exhibits submitted in conjunction with that briefing.

      As the Special Master explained in his order: Dr. William Longo is Plaintiffs

expert in materials science who will testify as to the presence of asbestos in



                                          3
Case 3:16-md-02738-MAS-RLS         Document 32993-1     Filed 07/22/24   Page 8 of 41
                                   PageID: 190346



defendants talc products. Order at 1. Dr. Longo is the President and 75% owner

of his lab  Material Analytical Services (MAS). Id.

      Defendants sought to depose Paul Hess, a non-testifying expert and a

longtime employee of MAS. Id. at 2. Hess is important because Hess, not Longo,

is the analyst that conducted the PLM tests that support Longos opinions. Hess, not

Longo, did the microscopic analysis required under the PLM methodology. Id. And

Hess, not Longo, has decades of experience doing PLM testing. Id. at 1.

      The PLM methodology that MAS employs turns on accurately identifying the

color the particles appear under the microscope when coated in a particular oil.1 Mr.

Hess is the one making those critical color determinations and identifying the

particles he claims are asbestos. As a result, the Special Master explained, the

how and why of the testing was to be covered at Hesss deposition since it is

important testimony. Id. at 3.

      Unfortunately, the Defendants still have not gotten to the how and why of the

testing because at the Court-ordered deposition, the testimony was obstructed by

40 instructions not to answer, as discussed in more detail below. A full chart of each

instruction not to answer is attached as Exhibit B. Such gamesmanshipon an issue

all parties and the Special Master agree is case-definingshould not be



1
  This use of oil is called central stop dispersion staining (CSDS) or sometimes
just dispersion staining.

                                          4
Case 3:16-md-02738-MAS-RLS        Document 32993-1      Filed 07/22/24   Page 9 of 41
                                  PageID: 190347



countenanced. Defendants therefore request both an unrestricted deposition of Mr.

Hess and sanctions.

                                   ARGUMENT

      The law is clear that a witness may be instructed not to answer a question only

when necessary to preserve a privilege, to enforce a limitation ordered by the court,

or to present a motion under Rule 30(d)(3) for bad faith questioning that annoys,

embarrasses, or oppresses the witness. Fed. R. Civ. P. 30(c)(2). Those are the only

three narrow exceptions to the general rule that a witness must answer the questions

asked at a deposition. Williams v. Benshetrit, 2020 WL 3315982, at *34 (E.D. Pa.

June 18, 2020).

      So for example, courts routinely hold it is improper to instruct a witness not

to answer based on all manner of grounds outside those three limited categories, such

as: relevance, Carbone v. Carbone, 2023 WL 3452333, at *2 (D.N.J. May 15, 2023),

calls for speculation, Specht v. Google, Inc., 268 F.R.D. 596, 599 (N.D. Ill. 2010),

calls for a legal conclusion, Quick v. Township of Bernards, 2023 WL 4237059, at

*5 (D.N.J. June 28, 2023), and calls for expert testimony, see, e.g. Bell v. Lee, 2017

WL 1316938, at *3 (N.D. Cal. Apr. 10, 2017); Lucas v. Breg, Inc., 2016 WL

2996843, at *3 & n.3 (S.D. Cal. May 13, 2016); Bordelon Marine, Inc. v. F/V

KENNY BOY, 2011 WL 164636, at *4 (E.D. La. Jan. 19, 2011); Hochstein v.

Microsoft Corp., 2009 WL 2616253, at *4 (E.D. Mich. Aug. 21, 2009).



                                          5
Case 3:16-md-02738-MAS-RLS        Document 32993-1     Filed 07/22/24   Page 10 of 41
                                   PageID: 190348



        None of the three limited exceptions apply to the questions presented at Mr.

Hesss deposition. Privilege was not at issue. No efforts were made to annoy or

embarrass Mr. Hess. And the instructions not to answer were not to enforce an order.

The Special Master was called at the beginning of the deposition and ruled that

questions should address the new method and the tests set forth in the tables to Dr.

Longos report. Ex. A, Hess Dep. 35:13-36:2. The Court also said that because

Defendants argued that it was Mr. Hess that was making these ultimate decisions

and not Dr. Longo, questions should not be related to what somebody else did or

what somebody else opines. Id. at 36:3-37:11.

        When defense counsel sought clarification and explained that he wished to

question Mr. Hess about particular images because those images were one of the

big topics and Plaintiffs may try to shut it down later, the Special Master ruled

that questioning on such images would be permissible [a]s long as its limited to

the specific tests at issue that are on that exhibit list. Id. at 44:11-45:3.

Notwithstanding this ruling and in clear violation of it, Mr. Hess was instructed over

and over not to answer questions about images from those very tests on the exhibit

list.




                                          6
Case 3:16-md-02738-MAS-RLS         Document 32993-1      Filed 07/22/24    Page 11 of 41
                                    PageID: 190349



      Egregiously, the vast majority of the instructions not to answer were based on

calls for expert testimony.2 First, such an objection is not recognized as a basis to

instruct a witness not to answer. Second, Mr. Hess is indeed an expert who has done

work of and for an expert and who was ordered to give a deposition about expert

issues. Plaintiffs cannot legitimately even argue that this ground not to answer was

an attempt to enforce this the Special Masters ruling. The Special Masters order

expressly stated multiple times that Mr. Hess is, indeed, an expert. Order at 2

([D]efendants subpoena seeks to depose Paul Hess, a non-testifying expert. . . .);




2
  See e.g., id. at 20: 24-25 (He is not here to opine on expert issues); id at 54:10-
11 (asking for expert opinion is beyond the scope); id. at 57:11-12 (that calls for
an expert opinion.); id. at 57:22 (seeks an expert opinion); id. at 65:24: (calls for
expert testimony); id. at 69:10-11 (This, once again, calls for expert opinion); id.
at 77:3-4 (Once again, youre getting into expert opinion); id. at 72:24 (calls for
expert opinion); id. at 75:7-8 (calls for expert opinion); id. at 78:23-24 (It's
calling for an expert opinion.); id. at 82:2 (that goes into expert testimony); id. at
82:8 (This calls for expert opinion); id.at 84:19-20 (Calls for expert opinion.);
id. at 91:10-11 (calls for an expert opinion); id. at 95:6-7 (This calls for an expert
opinion.); id. at 97:11-12 (He is not here to offer expert opinion); id. at 98:20
(Seeks expert opinion.); id. at 103:10-11 (seeks expert opinion); id. at 109:25-
110:1 (calls for an expert opinion); id. at 20-21 (We have instructed him not to
give expert opinion); id. at 112:11-12 (that is expert opinion and that's why we're
instructing him not to answer); id. at 119:7-8 (This is an expert opinion); id. at
124:8 (seeks expert opinion); id. at 126:4-5 (that calls for expert testimony.); id.
at 129:24-25 (Thats calling for an expert analysis); id. at 137:16-17 (He is not
here as an expert witness); id. at 140:24-25 (seeks expert opinion.); id. at 148:19-
20 (calls for expert testimony); id. at 149:21-22 (calls for expert testimony); id.
at 154:18-19 (Calls for an expert opinion); id. at 158:22-23 (calls for expert
testimony); id. at 159:24 (Calls for expert testimony.); id. at 162:9-10 (calls for
expert testimony); id. at 167:10-11 (calls for expert opinion).

                                           7
Case 3:16-md-02738-MAS-RLS       Document 32993-1       Filed 07/22/24   Page 12 of 41
                                  PageID: 190350



id. at 3 (Hess, not Longo, has decades of experience doing PLM testing. . . .); id.

(calling Mr. Hess the expert Longo will rely upon).

       Plaintiffs themselves admitted three times that the deposition of Mr. Hess

constituted discovery from a non-testifying expert. ECF 32195 at 1; ECF 32195-

1 at 8, 11.3

       Further, the Special Master also explained in the order that the the how and

why of the testing was to be covered at Hesss deposition since it is important

testimony. Order at 3 (emphasis added). The order further stated that one of the

purposes the deposition of Mr. Hess was so that he could explain the basis for

MASs findings. Order at 4. Explaining not just the how but also the why of

the testing, along with explaining the basis for MASs findings, necessarily calls for

Mr. Hesss expert testimony.

       If all that were not enough, the Special Master stated when called to the

deposition that the deposition was granted to the defendants to take Mr. Hess

deposition was based on the arguments that they made in their briefs. Ex. A, Hess



3
  The Special Master even quoted this argument, advanced by Plaintiffs, in the
order granting the deposition. Order at 2-3. (Plaintiffs also claim that defendants
subpoena seeks discovery from a non-testifying expert. . . .) (quoting ECF
32195 at 1) (emphasis added). For good measure, Defendants also stated that Mr.
Hess has the true expertise and is the one with the relevant PLM expertise, and
that Mr. Hess work as an expert involved independent specialization and
scientific judgment that is inseparably entwined with Longos analyses. ECF
32683 at 3, 14.

                                          8
Case 3:16-md-02738-MAS-RLS         Document 32993-1      Filed 07/22/24    Page 13 of 41
                                    PageID: 190351



Dep. 35:9-12. Defendants explained that Mr. Hess work as an expert involved

independent specialization and scientific judgment that is inseparably entwined with

Longos analyses. ECF 32583 at 14 (emphasis added). Indeed, Defendants quoted

Dr. Longos own testimony that identifying the color of the particle is a judgment

that comes from years and years of experience. Id. at 6 (quoting Longo Forrest

Dep. 73:11-13). The Special Master agreed that Defendants persuasively argue

that Mr. Hess is the one making all the key decisions. Order at 5. Mr. Hesss

judgment, which again necessarily includes his expert opinion, is plainly at issue.

Indeed, Dr. Longo himself promotes Mr. Hesss experience. See, e.g., Ex. C, Longo

Krich Dep. 53:3-8.

      The Special Master made clear that should Mr. Hess ever be instructed not to

answer, that would not be the end of the matter: Well look at the transcript and

well make a ruling on a more fulsome record. Ex. A, Hess Dep. 43:19-3. But that

was plainly not an invitation to launch into a lawless riot of instructions not to answer

to build a complete roadblock around relevant questions. And to state the even more

obvious, it was not an invitation to instruct Mr. Hess not to answer the very questions

the Special Master expressly ruled were permissible.

      In short: The Special Master stated that Mr. Hess is an expert. Plaintiffs stated

that Mr. Hess is an expert. Defendants stated that Mr. Hess is an expert. Dr. Longo




                                           9
Case 3:16-md-02738-MAS-RLS        Document 32993-1      Filed 07/22/24   Page 14 of 41
                                   PageID: 190352



said that Mr. Hess is an expert. And there is no real question that Mr. Hess is in fact

an expert with approximately 40 years of PLM experience.

      Yet despite Plaintiffs stating that the deposition of Mr. Hess seeks discovery

from a non-testifying expert, ECF 32195 at 1, Plaintiffs implausibly contended at

the deposition that Mr. Hess is not an expert and so he was instructed not to answer

on questioning that seeks expert opinion. See, e.g. at, Hess Dep. at 29:3, 103:10-

11. That is not tenable. The instructions to Mr. Hess not to answer defense

questioning were abusive and improper, meriting both a second deposition and

sanctions.

I.    Mr. Hess Was Improperly Instructed Not To Answer Numerous Directly
      Relevant Questions At His Deposition.

      Mr. Hess was instructed not to answer questions without any legitimate basis

on a number of topics regarding his testing that is part of Dr. Longos controlling,

4th Supplemental Report in this MDL.

      A.     Questions regarding Mr. Hesss testing of Sample M70484-001
             from Dr. Longos 4th Supplemental MDL Report (Zimmerman)

      One of the first tests listed in Dr. Longos operative 4th Supplemental Report

in this MDL is MASs test of sample M70484-001, originally from the Zimmerman

case in California. See Ex. D, Longo 4th Supp. Rpt. at 16 (Table 1, Row 2). That

reportwhere Mr. Hess was listed as the analystwas marked as Ex. 6 at the

deposition. Ex. E, M70484/Zimmerman (Dep. Ex. 6) at 32.



                                          10
Case 3:16-md-02738-MAS-RLS        Document 32993-1      Filed 07/22/24   Page 15 of 41
                                   PageID: 190353



       Mr. Hesss attention was drawn to the image below on page 39 of the report

that Mr. Hess claims (and Dr. Longos report parrots) is chrysotile asbestos. Ex. A,

Hess Dep. 76:19:23.




Ex. E, M70484/Zimmerman Rpt. (Dep. Ex. 6) at 38.

      Mr. Hess was asked the question: What color is that? Ex. A, Hess Dep. 77:2.

He was instructed not to answer that question on the ground that it was calling for

an expert opinion. Id. at 77:22-24, 78:8-9; see also id. at 78:18-22 (instructing not

to answer: What color is the particle that youre calling chrysotile here?).

      There is no legitimate basis for an instruction not to answer such a simple

question which falls squarely within any conceivable scope of the deposition. The

Special Master expressly stated that questioning regarding images was permitted if

they are images of the specific tests at issue that are on the list of testing in the




                                          11
Case 3:16-md-02738-MAS-RLS        Document 32993-1      Filed 07/22/24    Page 16 of 41
                                   PageID: 190354



tables to Dr. Longos report. Id. at 44:11-45. That is precisely what occurred here

and what counsel obstructed.

       For the testing at issue, MAS used a microscope with a tungsten lightbulb

which affected the coloring of the image. Mr. Hess was asked if that lightbulb was

adding sort of darker golden colors or orange colors to the image. Ex. A, Hess

Dep. 95:3-5. But again, Mr. Hess was instructed not to answer the question on the

grounds that it calls for an expert opinion. Id. at 95:6-9; see also id. at 97:19-98:1

(instructing Mr. Hess not to answer a second time). Again, that is not a legitimate

basis to instruct not to answer. Mr. Hess is unquestionably an expert. And the

question involved Mr. Hesss own testing that makes up Dr. Longos report in this

MDL.

       B.    Questions regarding Mr. Hesss testing of Sample M71614-001
             from Dr. Longos 4th Supplemental MDL Report (Valadez)

       Another test listed in Dr. Longos operative 4th Supplemental Report in this

MDL is MASs test of sample M71614-001, originally from the Valadez case in

California. See Ex. D, Longo 4th Supp. Rpt. at 23 (Table 6, Row 41). Mr. Hess was

listed as the analyst in that report. Ex. F, M71614-001/Valadez Rpt. (Dep. Ex. 14) at

33. So, Mr. Hess was shown an image from that report:




                                          12
Case 3:16-md-02738-MAS-RLS       Document 32993-1      Filed 07/22/24   Page 17 of 41
                                  PageID: 190355




Ex. G (Dep. Ex. 17).

      He was asked: [What] color are you assigning to the talc plates that were

looking at here? Ex. A, 124:5-6. Mr. Hess was instructed not to answer that

question, id. at 124:16-24, along with an objection that it seeks expert opinion,

id. at 124:7-8. Again this question, like the questions below, concern Mr. Hesss

own testing that is part of this MDL and a component of Dr. Longos operative

report here. There is no legitimate basis to instruct Mr. Hess not to answer.

      Mr. Hess was shown another image of his testing from that same report:




                                         13
Case 3:16-md-02738-MAS-RLS       Document 32993-1       Filed 07/22/24   Page 18 of 41
                                  PageID: 190356




See Ex. H (Dep. Ex. 18); Ex. A, Hess Dep. 127:13-128; see also id. at 128:10-11

(identifying particle CSM-002). Mr. Hess was asked whether the purple and magenta

color he was seeing on the particle he testified was chrysotile asbestos was the same

type of purple or red colors that are on the talc plates. Ex. A, Hess Dep. 128:17-22.

Mr. Hess was instructed not to answer without any stated basis. Id. at 128:25-129:2.

      For that same image, he was even instructed not to answer whether he was

following counsels questions and understood what particle counsel wanted to draw

Mr. Hesss attention to. He was asked: If you move your eye from the top of the

two arrows over towards the left, there is a rounded talc plate. Do you see that? Id.

at 125:21-25. Shockingly, he was instructed not to answer on the grounds that it

somehow calls for expert testimony. Id. at 126:2-6.

      He was next asked: Is the particle youre calling chrysotile here, is that

essentially the same color as the talc plates in the image? Id. at 126:23-25. Again,

he was instructed not to answer based on the same objection. Id. at 127:1-3.

                                         14
Case 3:16-md-02738-MAS-RLS         Document 32993-1         Filed 07/22/24   Page 19 of 41
                                    PageID: 190357



      In its reports, MAS claims it is using the colors just on the edges of particles

to make a call on the critical asbestos versus non-asbestos question. So, Mr. Hess

was asked: [W]ithout these sort of red colors at the edges, then the CSDS color that

you would have had to assign to the particle would be -- would correspond to yellow,

right? Id. at 131:18-22. Mr. Hess was instructed not to answer on the grounds that

it is calling for an expert analysis. Id. at 131:18-22.

      Mr. Hess also was asked regarding the testing in this same report whether the

same types of edges on these  [are] on many of the rounded structures that are talc

plates? Id. at 136:7-9. Mr. Hess was instructed not to answer. Id. at 136:12-18

      Mr. Hess was similarly asked whether the same type of edge effects that

youre relying on to call particles chrysotile in Johnson & Johnson are also present

on talc plates in your analysis. Id. at 143:11-16. Mr. Hess was instructed not to

answer. Id. at 143:24-25; see also id. at 118:25-119:9 (instructed not to answer what

refractive index number would you assign to any of the talc plates that also have an

edge effect due to an expert opinion).

      Finally, Mr. Hess used a different type of oil for Sample M70484-001

(Zimmerman) than he did for Sample M71614-001 (Valadez)both part of Dr.

Longos 4th Supplemental Report. Mr. Hess was asked: What is the expected effect

of switching to . . . 1.560 oil? Mr. Hess was instructed not to answer on the ground

that it calls for an expert opinion. Id. at 91:9-12. To drill down on this issue, Mr.



                                           15
Case 3:16-md-02738-MAS-RLS       Document 32993-1      Filed 07/22/24   Page 20 of 41
                                  PageID: 190358



Hess was also asked: [I]f I have a particle that is orange in parallel in 1.550 and I

change my oil to 1.560, it should appear more magenta, right? Id. at 98:12-15. He

was again instructed not to answer on the grounds that it [s]eeks expert opinion.

Id. at 98:19-23.

      All these instructions not to answer were beyond improper; they were

intentionally obstructionist.

      C.     Questions regarding the Calidira reference sample that is a
             critical component of MASs PLM methodology.

      Defendants explained in their original brief that Mr. Hess is even the one who

came up with the idea of using a reference sample for a unique form of chrysotile

[known as Calidira] which Dr. Longo has claimed unlocked MASs ability to

identify chrysotile in talc. ECF 32683 at 11 (citing Longo Powers Dep. 75:24-76:3;

Longo Weiss Dep. at 22:7-15; Longo Clark Hrg 36:10-15, 159:8-16, 160:1-8).

      Essentially, MAS took a sample of this unique and rare form of chrysotile, put

it under the PLM microscope, and took images of it. MAS then claims to identify

chrysotile supposedly by comparing the particles they find in Defendants talc to

this very specific reference sample created per Mr. Hesss idea. Those images of the

reference sample are part of MASs work in this MDL and were marked as Exhibit

25 to the Hess deposition. Ex. I, Calidria Reference Sample (Dep. Ex. 25).

      Mr. Hess was then shown an image of MASs Calidria reference sample (that

is a component of the very methodology at issue in this MDL that Mr. Hess


                                         16
Case 3:16-md-02738-MAS-RLS       Document 32993-1       Filed 07/22/24   Page 21 of 41
                                  PageID: 190359



supposedly follows) and an image from M71614-001 (the Valadez report that is also

part of Dr. Longos 4th Supplemental Report in this MDL, as discussed above).




Ex. J, M71614-001/Reference Sample Comparison (Dep. Ex. 27); Ex. A, Hess Dep.

178:2-9.

      Mr. Hess was asked: Are you claiming those two  those two images have

the same dispersion staining colors? Ex. A, Hess Dep.178:20-22. Again, he was

instructed not to answer. Id. at 179:4-7. The position is absurd. Comparing the

particles MAS identified in Defendants talc to MASs Caldaria reference sample is

precisely what Dr. Longo testified was the critical step in the analysis that allowed

MAS to identify chrysotile despite never finding it previously. And, as Dr. Longo

has told us time and again, Mr. Hess is the man who undertakes this critical step.

Thus, questions regarding how Mr. Hess is making this comparison when he

conducts the analysis are unquestionably appropriate.




                                         17
Case 3:16-md-02738-MAS-RLS         Document 32993-1       Filed 07/22/24    Page 22 of 41
                                    PageID: 190360



      Additionally, one of Defendants concerns about the MAS Calidria reference

sample is that while the image contains huge swathes of chrysotile particles that

appear blue, MAS chose as its point of comparison an outlier particle that is a

different color that is likely an impurity in the sample (i.e. not chrysotile). This issue

is amply illustrated below when one examines the totality of the reference:




See Ex. I, Calidria Reference Sample (Dep. Ex. 25); see also Ex. A, Hess Dep. 177:9-

11 (acknowledging that all the blue is chrysotile).

      Whether the particle being used as the reference is actually chrysotile is

incredibly significant and clearly fair game for questioning considering that Mr. Hess

is the one who came up with the idea of using this special reference sample and took

the images of the sample, and Dr. Longo claims that using this specific sample as a


                                           18
Case 3:16-md-02738-MAS-RLS         Document 32993-1       Filed 07/22/24    Page 23 of 41
                                    PageID: 190361



point of comparison is critical to MASs methodology which has led to the expert

opinion that Defendants talc products contain asbestos. Yet when Mr. Hess was

asked whether he was aware that Calidria can have impurities in it, he was

instructed not to answer. Id. at 177:12-16.

      That question goes directly to the how and why of the testing that the

Special Master expressly ordered was to be part of the depositioni.e. why is MAS

using a particle that is not representative of the larger reference sample as its critical

point of comparison. See Order at 3 (emphasis added). Similarly, Mr. Hess was

instructed not to answer questions as to why the color of Calidria supposedly

changes so that sometimes when youre finding it, its to you golden yellow on

the ground that it [c]alls for expert testimony. Ex. A, Hess Dep. 159:18-23.

      D.      Questions regarding the chrysotile reference sample in the ISO
              22262-1 methodology MAS purports to follow.

      MAS also purports to rely, at least in part, on a protocol from the International

Organization for Standardization (ISO) known as ISO 22262-1 for the testing in

this MDL. Ex. F, M71614-001/Valadez Rpt. (Dep. Ex. 14) at 3 (The PLM analysis

used method ISO 22262-1. . . .); Ex. K, Longo Prudencio Dep. 26:9-11 (similar).

Part of that protocol contains reference images for what chrysotile is supposed to

look like using PLM, which look very different than the particles MAS claims are

chrysotile.




                                           19
Case 3:16-md-02738-MAS-RLS        Document 32993-1      Filed 07/22/24   Page 24 of 41
                                   PageID: 190362




Ex. G, Valadez/ISO Comparison (Dep. Ex. 17).

      As the graphic above shows, Mr. Hess treated the particle on the left that is

part of the testing in this MDL as purple corresponding to a wavelength of light that

is 560nm. Mr. Hess was asked whether the the wavelength of light that you assigned

to this particle on the left that youre calling chrysotile in Johnson & Johnson, you

are saying that it is even more purple than standard reference chrysotile depicted on

the right? Ex. A, Hess Dep. 110:16-21. He was instructed not to answer that

question. Id. at 112:13-14.

      He was similarly instructed not to answer the question: As a fact, factually,

you assigned a darker purple color to that particle on the left than standard reference

chrysotile. Id. at 112:20-113:18; see also id. at 109:19-110:6 (Hess being instructed

not to answer whether the refractive index number given for that particle by ISO is

1.556; that corresponds to magenta). This reference image is part of the ISO

protocols claimed to be followed in the reports. And, as the Special Master pointed



                                          20
Case 3:16-md-02738-MAS-RLS        Document 32993-1       Filed 07/22/24      Page 25 of 41
                                   PageID: 190363



out, defendants are not required to accept at face value that Longos written

methodology was followed. Order at 4. Thus, these questions were decidedly fair

game and should have been answered.

      Additionally, the Special Master stated at the deposition that the reason why

leave was granted to the defendants to take Mr. Hess deposition was based on the

arguments that they made in their briefs. Ex. A, Hess Dep. 35:9-12. Defendants

used this exact example of the color of the ISO reference sample and the color of

particle in the original briefing regarding this very deposition:




See ECF 32683 at 5. Questions regarding this reference sample therefore fall

squarely within the reasons Defendants sought a deposition.

      E.     Questions regarding illumination and color filtering.

      Defendants also raised in their original briefing that Mr. Hess is making

smaller but still important decisions such as controlling the illumination. ECF

32683 at 12. Defendants then cited defense expert Dr. Sus report to argue that it

appears as if Mr. Hess is not using enough light intensity, which would distort the

color the particles appear and therefore distort the entire analysis. Id.




                                          21
Case 3:16-md-02738-MAS-RLS        Document 32993-1      Filed 07/22/24   Page 26 of 41
                                   PageID: 190364



      Dr. Longo has testified that Mr. Hess is using the maximum illumination

possible. Ex. L, Longo Clark Hrg 73:18-24. To test and challenge that assertion

with the person actually controlling the illumination, Mr. Hess was shown as a

demonstrative a sample PLM image that is plainly brighter than Mr. Hesss own

PLM imaging above.




Ex. M, PLM Image (Dep. Ex. 23). Mr. Hess was simply asked the question: Is

your Leica microscope able to take images that are as bright as what were seeing

here? Id. at 147:24-148:1. The Lecia microscope is the one Mr. Hess is currently

using for the testing at issue in the MDL. See, e.g., Ex. F, M71614-001/Valadez

Rpt. (Dep. Ex. 14) at 18. Once again, he was instructed not to answer the question

on the grounds that it calls for expert testimony. Id. at 148:19-22.

      As defense counsel explained in the deposition, this question fell squarely

within the scope of appropriate questioning since Mr. Hess was being asked about



                                          22
Case 3:16-md-02738-MAS-RLS        Document 32993-1       Filed 07/22/24   Page 27 of 41
                                   PageID: 190365



his microscope, his illumination settings, what he sees under the microscope, and

whether his microscope that he knows and he works with is capable of producing

an image at this illumination level. Id. at 148:23-149. The question goes directly

to how and why the illumination levels of Mr. Hesss images appear as they do

See Order at 3. Why are the brightness levels too low and how did they get that way

through the microscopes settings?

      Similarly, polarized light microscopes can use filters in order to normalize

coloring and ensure that the colors the analyst is seeing is an accurate representation

of what the particles actually look like and not, for example, distorted by external

light sources. Indeed, the ISO 22262-1 method that MAS claims is being followed

in the testing at issue in this MDL states that a blue daylight filter must be used.

Ex. N, ISO 22262-1 at 15, 25. So Mr. Hessthe person with nearly 40 years of PLM

experience who Dr. Longo relies on for the testing at issue in the MDLwas asked:

Do you know what the purpose is of a blue light or a daylight filter? Id. at 65:19-

20. He was instructed not to answer on the grounds that it calls for expert

testimony. Id. at 65:23-66:1.

      As the Special Master pointed out and already discussed above, defendants

are not required to accept at face value that Longos written methodology was

followed. Order at 4. The method at issue calls for a use of this filter. In seeking to

know the how and why of the testing, see Order at 3, Defendants wanted know



                                          23
Case 3:16-md-02738-MAS-RLS        Document 32993-1      Filed 07/22/24   Page 28 of 41
                                   PageID: 190366



not just how the testing was conducted (whether such a filter was being used), but

also if the reason why the filter was not being used is due to Mr. Hesss awareness

of its purpose. Does he not know the purpose of using the filter or does he know its

purpose and chooses to intentionally not use it? Defendants were not permitted to

get answers to these basic questions that go directly to the purpose of the deposition.

      F.     Questions regarding Dr. Su and Dr. Wyles review of Mr. Hesss
             work.

      In preparation for his deposition, Mr. Hess reviewed the reports of defense

experts Dr. Shu-Chun Su and Dr. Ann Wylie from this MDL. Ex. A, Hess Dep. at

18:22-25. These are reports explaining defense experts views of why Mr. Hesss

analysis in this MDL is flawed and otherwise incorrect. But when Mr. Hess was

asked if he had any comments on their reviews of his work, he was instructed not to

answer. Id. at 84:12-85:16. The reasons Mr. Hesswho has the relevant expertise

and who conducted the analysis at issuethinks that defense criticisms of his own

testing are wrong is at the heart of the deposition.

      If, after reviewing their reports, Mr. Hess thinks Dr. Su and Dr. Wylies

criticisms are correct and that MAS is not using the PLM microscope correctly

and/or not actually identifying chrysotile, then Dr. Longos report should be struck

from the case. Presumably Mr. Hess has some response to justify the basis for

MASs findings that the Special Master ruled was part of what was to be covered




                                          24
Case 3:16-md-02738-MAS-RLS         Document 32993-1       Filed 07/22/24    Page 29 of 41
                                    PageID: 190367



at the deposition. See Order at 4. Given the obstruction of counsel, Defendants are

presently left without any way to know what those responses may be.

       G.     Other questions regarding Mr. Hesss testing.

       The instructions not to answer were so numerous, that they applied to a wide

variety of other questions that do not neatly fall into the categories above. See, e.g.,

Ex. A, Hess Dep. at 57:2-12 (being instructed not to answer: Do the central stop

dispersion staining colors of talc plates themselves in 1.550 oil include the color

red?); id. at 103:5-15 (being instructed not to answer: Are you familiar with the

fact that you can -- that even with Cargille glass that has a single refractive index,

you can sometimes see edge colors that dont correspond to that refractive index?);

id. at 141:7-10 (being instructed not to answer: [D]o you know how to perform a

Becke line analysis?); id. at 158:19-23 (being instructed not to answer, So the

whole reason why dispersion staining can be used is because minerals have defined

refractive indices, right?); id. at 162:5-8 (being instructed not to answer: Are you

familiar with any published reference values for the refractive indices of talc in

parallel, in talc -- elongated fiber of talc in parallel?). Each of these instructions not

to answer, as well as all of the others outlined in Ex. B, were improper. The wide-

ranging nature of the instructions demonstrates the need for an unrestricted

deposition of Mr. Hess.

                                          ***



                                            25
Case 3:16-md-02738-MAS-RLS         Document 32993-1       Filed 07/22/24    Page 30 of 41
                                    PageID: 190368



      Mr. Hesss expertise was inherently at issue in the deposition, because it is at

issue in this MDL. As the Special Master concluded: Hess, not Longo, has

decades of experience doing PLM testing and is the expert Longo will rely upon to

support his opinion that defendants talc products contained asbestos. Order at 3.

The why of the testing is important testimony. Id. And Mr. Hesss work and

testing is critical to Longos conclusion.

      The Special Master also explained that a reason for the deposition of Mr.

Hess was that Longo testified in other cases that he is unable to answer certain of

defendants questions about his conclusions without looking through a

microscope and that Hess, therefore, is likely to provide missing answers. Order

at 3.4 The Special Master explained that Defendants correctly note that, [i]f

looking down the microscope is necessary to explain the basis for MASs findings,

then Defendants are entitled to depose the person [i.e., Hess] who actually did

that. Id. at 4 (citing Defendants Opposition at 11 (ECF No. 32683).) Explaining

the basis of MASs findings is expert opinion.

      Take this example: One of the critical questions Defendants highlighted in

their brief was that when Dr. Longo was asked if the edge effect that MAS is

relying on to identify chrysotile is also present on the talc particles, then isnt it the



4
 (citing Defendants Opposition at 10 n.4 (ECF No. 32683) and Defendants
Inspection Request Reply at 5-8 (ECF 32808)).

                                            26
Case 3:16-md-02738-MAS-RLS        Document 32993-1      Filed 07/22/24   Page 31 of 41
                                   PageID: 190369



case that your entire analysis is wrong? ECF 32683 (citing Longo Clark Hrg

(Vol. I) 118:20-119:3 (emphasis added). Dr. Longos only response was to dodge

the question, responding: I would need to be looking at the microscope. Id. That

is precisely the issue the Special Master concluded justified a deposition of Mr.

Hess who actually looked down the microscope.

      But when Defendants asked Mr. Hess whether [t]he same type of edge

effects that youre relying on to call particles chrysotile in Johnson & Johnson are

also present on talc plates in your analysis, he was instructed not to answer. Id. at

143:11-25. This gamesmanship prevents anyone from answering a question that

goes to whether MASs entire analysis is wrong on a case-defining issue.

      The Special Master denied Defendants request to inspect Dr. Longos

microscope and methodology in part because he granted defendants request to

depose Paul Hess, the MAS analysist who conducted the tests upon which Longo

relies and that Mr. Hesss testimony should fill in the gaps from Longos

deposition. ECF 32826 at 8. But that reasoning can no longer hold up if

Defendants are not able to actually question Mr. Hess about these critical issues.

      Understanding and evaluating Mr. Hesss work is critical not only for future

juries, but also for this Court via its important Rule 702 gatekeeping function. The

tactics that have been employed are just serving to prevent scrutiny into MASs

work. That is not proper, particularly for an issue that is so important to this MDL.



                                          27
Case 3:16-md-02738-MAS-RLS         Document 32993-1      Filed 07/22/24    Page 32 of 41
                                    PageID: 190370



Mr. Hesssomeone with decades of PLM experience who actually conducted the

relevant testsshould be able to answer basic questions about that testing. The

machinations to avoid inquiry into this topic all beg the questions: What are

Plaintiffs afraid of? What are they hiding? What mischief is afoot in MASs

testing?

      Defendants should be allowed to conduct a simple deposition where they are

actually permitted to answer basic questions regarding the central testing in this

matter.

II.   Counsel Should Be Permitted To Ask Questions Comparing Mr. Hesss
      Work To Other Testing, Particularly His Own.

      At the beginning of the deposition, defense counsel sought to ask questions

touching upon Mr. Hesss own prior PLM testing in this MDL. The Special Master

ruled: thats not the purpose of this deposition, not to compare old tests to new tests

Ex. A, Hess Dep. at 43:10-12. The Special Master stated that defense counsel didnt

say anything about asking him to compare old to new in their arguments for why a

deposition was warranted. Id. at 43:16-17.

      Defendants request that this line of questioning be permitted in a continued

deposition. Defendants original brief seeking Mr. Hesss deposition specifically

argued on page 1 that Dr. Longo was now finding a type of asbestos he previously

had never found in any of his prior testing. ECF 32683 at 1. The fact that Mr. Hess

did not find chrysotile in his prior PLM work but now finds it with his new method


                                           28
Case 3:16-md-02738-MAS-RLS       Document 32993-1      Filed 07/22/24   Page 33 of 41
                                  PageID: 190371



goes directly to the how and why of the new methodology. Order at 3. Why is Mr.

Hess only finding chrysotile for the first time beginning in 2020 and how has the

methodology changed to result in these alleged findings? Those questions are at the

heart of the parties dispute about the new PLM methodology at issue. The questions

relevance and importance to the new methodology do not change just because, by

their nature, they touch on prior work. That the prior work was done by Mr. Hess and

in this very MDL makes them all the more relevant to the issues at hand.

      Similarly, Defendants want to ask Mr. Hess about the illumination and

coloring in the new PLM methodology at issue in this MDL that touches on prior

testing Mr. Hess himself conducted of another companys product. As discussed

above, illumination and coloring issues were directly raised by Defendants in their

initial briefing. Below are images of Mr. Hesss testing of another companys talc as

well as his testing of Johnson & Johnson sample M70484 (Zimmerman) that is part

of Dr. Longos report in this MDL.




                                         29
Case 3:16-md-02738-MAS-RLS       Document 32993-1      Filed 07/22/24   Page 34 of 41
                                  PageID: 190372



               Vanderbilt                      Sample M70484 (Zimmerman)




           Date: 1/9/2020                             Date: 2/21/2020
          Analyst: Paul Hess                         Analyst: Paul Hess
            Sample: Talc                               Sample: Talc
              Oil: 1.550                                 Oil: 1.550

Ex. O, Vanderbilt vs. M70484 (Dep. Ex. 8).

      Both of the above are images of talc that Mr. Hess took using the same type

of oil only a little over a month apart. Yet the illumination levels and coloring look

completely different. Again, this goes directly to the how and why of the testing.

See Order at 3. Defendants want to know how the microscope for this MDL was set

up, presumably differently, than testing of other talc in the very same time period

and why the microscope settings were changed for the MDL testing. See Ex. A, Hess

Dep. 71:11-21 (being instructed not to answer was the microscope set up differently

in these two analyses?). Mr. Hess is the only person who actually knows the answer

to these critical questions because he is the one who is actually sitting at the

microscope and controlling its settings. If the microscope setting are being changed



                                         30
Case 3:16-md-02738-MAS-RLS         Document 32993-1     Filed 07/22/24   Page 35 of 41
                                    PageID: 190373



from product to product in order to change the ultimate results, that is incredibly

important and relevant information that is and directly within Mr. Hesss knowledge

(and maybe only Mr. Hesss knowledge).

       Defendants raised in their original briefing that they sought to question Mr.

Hess regarding the colors of his testing and specifically pointed out the sub-topic of

issues of illumination levels. Defendants did not need to name every possible sub-

sub-topic or question they wished to ask concerning this general subject in order for

it to be fair game at the deposition.

       Moreover, just because a question touches on Mr. Hesss prior work should

not mean it is out of bounds. For some issues, questions that focus on comparison

are the best and clearest way to understand how Mr. Hess is using his microscope in

the PLM testing at issue in this MDL and why he is using the microscope in that way.

This questioning should be permitted as well.

III.   This Court Should Award Sanctions.

       When a witness is improperly instructed not to answer a question, the

instances are few and far between where sanctions are not warranted. Boyd v. Univ.

of Maryland Med. Sys., 173 F.R.D. 143, 147 (D. Md. 1997).

       The egregious and repeated frustration of the court-ordered deposition of Mr.

Hess merits sanctions here. The Special Master already ordered that this deposition

go forward over Plaintiffs objection. Then, despite the Special Masters ruling at the



                                          31
Case 3:16-md-02738-MAS-RLS        Document 32993-1       Filed 07/22/24   Page 36 of 41
                                   PageID: 190374



deposition that Mr. Hess could be questioned about his testing at issue in this MDL

including the relevant images from that testing, counsel violated that ruling by

instructing Mr. Hess not to answer those very questions.

      As discussed at length above, calls for expert testimony is not a ground to

instruct a witness not to answer. Nor could such an instruction legitimately be an

attempt to enforce the Special Masters ruling considering both the Special Master

and Plaintiffs themselves expressly acknowledged what cannot be denied: that Mr.

Hess is an expert.

      Accordingly, Defendants request monetary sanctions and that Plaintiffs be

precluded from relying on any PLM tests where Mr. Hess is an analyst under Rules

16(f), 30(d)(2), 37(b)(1), and 37(b)(2). This motion is being served on Mr. Hess

counsel.

      A.     The federal rules authorize monetary and preclusion sanctions.

      Rule 16(f)(1)(C) provides that [o]n motion or on its own, the court may issue

any just orders, including those authorized by Rule 37(b)(2)(A)(ii)-(vii), if a party

or its attorney fails to obey a scheduling or other pretrial order. Fed. R. Civ. P.

16(f)(1)(C). Rule 37(b)(2)(A)(ii) states that [i]f a party   fails to obey an order to

provide or permit discovery,       the court where the action is pending may issue

further just orders including prohibiting the disobedient party from supporting or




                                          32
Case 3:16-md-02738-MAS-RLS       Document 32993-1      Filed 07/22/24   Page 37 of 41
                                  PageID: 190375



opposing designated claims or defenses, or from introducing designated matters in

evidence. Fed. R. Civ. P. 37(b)(2)(A)(ii).

      Rule 37(b)(1) states: If the court where the discovery is taken orders a

deponent to be sworn or to answer a question and the deponent fails to obey, the

failure may be treated as contempt of court. And Rule 30(d)(2) provides: The court

may impose an appropriate sanctionincluding the reasonable expenses and

attorneys fees incurred by any partyon a person who impedes, delays, or frustrates

the fair examination of the deponent. Fed. R. Civ. P. 30(d)(2).

      A.     This Court should award monetary sanctions.

      Rule 30(d)(2) specifically provides that reasonable expenses and attorneys

fees may be awarded for a person who impedes, delays, or frustrates the fair

examination at a deposition.

      The Advisory Committee notes further explain that this provision authorizes

appropriate sanctions not only when a deposition is unreasonably prolonged, but also

when an attorney engages in other practices that improperly frustrate the fair

examination of the deponent, such as making improper objections or giving

directions not to answer . . . (emphasis added). Advisory Committee Note to Rule

30, subdivision (d), paragraph (3) (1993 Amendment).

      District Courts routinely hold that such monetary sanctions are warranted

when counsel improperly instructs a witness not to answer questions. See, e.g.,



                                         33
Case 3:16-md-02738-MAS-RLS       Document 32993-1      Filed 07/22/24    Page 38 of 41
                                  PageID: 190376



Williams v. Benshetrit, 2020 WL 3315982 (E.D. Pa. June 18, 2020); Lucas v. Breg,

Inc., 2016 WL 2996843, at *5 (S.D. Cal. May 13, 2016); Bordelon Marine, Inc. v.

F/V KENNY BOY, 2011 WL 164636, at *4, *6 (E.D. La. Jan. 19, 2011); Wellsco Int'l

Co. Ltd. v. HD Supply Distribution Servs., LLC, 2010 WL 11508337, at *5 (N.D. Ga.

July 26, 2010); Antolini v. McCloskey, 2022 WL 1689331, at *4, *6 (S.D.N.Y. May

26, 2022).

      Defendants therefore request as a monetary sanction the reasonable fees and

expenses incurred in preparing for and taking the deposition of Mr. Hess.

      B.     This Court should preclude Plaintiffs from relying on any tests
             where Mr. Hess was the analyst.

      This Court may also preclude Plaintiffs from relying on MAS testing

conducted by Mr. Hess as a sanction. A four-factor test is used to determine whether

or not excluding evidence as a sanction for failing to comply with an Order

compelling discovery is appropriate:

      (1) the prejudice or surprise to the party against whom the withheld
      evidence will be offered; (2) the ability to cure the prejudice; (3) the
      extent to which the evidence would disrupt the orderly and efficient trial
      of the case; and (4) bad faith or willfulness of the delinquent party in
      failing to comply with the court's orders.

Access 4 All, Inc. v. ANI Assocs., Inc., 2007 WL 178239, at *2 (D.N.J. Jan. 12, 2007)

(Schneider, J.). Prejudice need not be irremediable and may include the burden

imposed by impeding a partys ability to prepare effectively a full and complete trial




                                         34
Case 3:16-md-02738-MAS-RLS        Document 32993-1         Filed 07/22/24   Page 39 of 41
                                   PageID: 190377



strategy and the burden a party must bear when forced to file motions in response

to the strategic discovery tactics of an adversary. Id.

      All these factors are met for all the reasons discussed throughout this brief.

And Defendants are prejudiced because despite requesting the deposition in April in

the middle of expert discovery, Defendants were not able to fully depose Mr. Hess

by the time of the Rule 702 motion deadline (which is tomorrow). In any continued

deposition, Mr. Hess now has an improper preview of many of the questions

Defendant intend to ask him. Additionally, Defendants will have to expend twice the

effort to depose Mr. Hess than they should have because of Plaintiffs conduct in the

deposition.

      This Court should therefore award preclusion as a sanction

                                   CONCLUSION

      This Court should order an unrestricted deposition of Mr. Hess within a week

along with sanctions. Defendants also request that Plaintiffs and Mr. Hesss counsel

be instructed not to share the brief with Mr. Hess or use it to prepare for further

deposition questioning as that would allow them to further profit from their

misconduct.




                                          35
Case 3:16-md-02738-MAS-RLS   Document 32993-1   Filed 07/22/24   Page 40 of 41
                              PageID: 190378



 Dated: July 22, 2024                Respectfully submitted,

                                     /s/ Kristen R. Fournier
                                     Kristen R. Fournier

                                     KING & SPALDING LLP
                                     1185 Avenue of the Americas
                                     34th Floor
                                     New York, NY 10036
                                     (212) 556-2100
                                     kfournier@kslaw.com

                                     Susan M. Sharko
                                     FAEGRE DRINKER BIDDLE &
                                     REATH LLP
                                     600 Campus Drive
                                     Florham Park, NJ 07932
                                     susan.sharko@faegredrinker.com

                                     Attorneys for Defendants Johnson &
                                     Johnson and LLT Management, LLC




                                   36
Case 3:16-md-02738-MAS-RLS        Document 32993-1      Filed 07/22/24   Page 41 of 41
                                   PageID: 190379




                        CERTIFICATION OF SERVICE

      I hereby certify that on July 22, 2024, a true and correct copy of the foregoing

motion was filed electronically. Notice of this filing will be sent by operation of the

Courts electronic filing system to all parties indicated on the electronic filing

receipt. Parties may access this filing through the Courts system.

      I hereby certify that on July 22, 2024, a true and correct copy of the foregoing

motion was sent via email to counsel for Mr. Hess, Eric Ludwig, Esq.


                                        /s/ Kristen R. Fournier
                                        Kristen R. Fournier
                                        KING & SPALDING LLP
                                        1185 Avenue of the Americas
                                        34th Floor
                                        New York, NY 10036
                                        (212) 556-2100
                                        kfournier@kslaw.com
